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      In The United States Court of Federal Claims
                                             No. 06-101C

                                        (Filed: July 15, 2011)
                                             __________
JAY CASHMAN, INC.,

                       Plaintiff,

       v.

THE UNITED STATES,

                       Defendant

                                              __________

                                               ORDER
                                              __________

       As agreed upon by the parties at the close of trial, post-trial briefing in this case is hereby
ordered as follows:

       1.       On or before August 31, 2011, the parties shall simultaneously file
                post-trial briefs. Initial post-trial briefs shall not exceed 50 pages;

       2.       On or before September 29, 2011, the parties shall simultaneously
                file replies to the initial post-trial briefs. The reply briefs shall not
                exceed 25 pages; and

       3.       After the replies have been filed, the court will contact the parties
                telephonically to arrange a date for the closing argument.

       IT IS SO ORDERED.




                                                                 s/Francis M. Allegra
                                                                 Francis M. Allegra
                                                                 Judge
